
174 P.3d 553 (2005)
2005 OK 56
In the MATTER of the SUSPENSION OF MEMBERS OF the OKLAHOMA BAR ASSOCIATION FOR NONPAYMENT OF 2005 DUES.
No. SCBD-5075.
Supreme Court of Oklahoma.
June 27, 2005.
As Amended September 12, 2005.

ORDER OF SUSPENSION
JOSEPH M. WATT, Chief Justice.
¶ 01 This matter comes on before this Court for consideration of the Recommendation for Suspension for Nonpayment of Dues submitted by the Board of Governors of the Oklahoma Bar Association, for suspension of members from membership in the Association and from the practice of law in the State of Oklahoma, for failure to pay their dues as members of such Association for the year 2005, as provided by the Rules Creating and Controlling the Oklahoma Bar Association.
¶ 02 The Court having considered said Recommendation finds that the members of the Oklahoma Bar Association, named in the attached Exhibit, should be and are hereby suspended from membership in the Association and from the practice of law in the State of Oklahoma for failure to pay membership dues for the year 2005, as provided by the Rules Creating and Controlling the Oklahoma Bar Association.
ALL JUSTICES CONCUR.

                 EXHIBIT A
    Jerry Alcorn                          OBA No. 13173
    6309 Fitzgerald Ct.
    Garland, TX 75044
    Mary Kathryn Behlen                   OBA No. 11321
    PO Box 6538
    Edmond, OK XXXXX-XXXX
    Christine M. Benson                   OBA No. 17843
    Apt 10 523 Beacon St.
    Boston, MA 02215-2304
    Glen Joseph Blake                     OBA No. 18655
    P.O. Box 50001
    Tulsa, OK XXXXX-XXXX
    Melvin C. Bloomfield                  OBA No. 892
    6144 S. New Have Ave
    Tulsa, OK 74136
    Richard Wayne Bohan                   OBA No. 11229
    8915 Red Cloud Road
    Houston, TX 77065
    Alford A. Bratcher                    OBA No. 13661
    RR 4, Box 224 G
    Duncan, OK XXXXX-XXXX
    John Bernard Buckun                   OBA No. 19765
    20 N. Broadway, Ste 1800
    Oklahoma City, OK 73102
    Geoffrey Layton Burks                 OBA No. 18664
    1015 Providence Towers E.
    5001 Spring Valley Rd.
    Dallas, TX 75244
    David M. Casey                        OBA No. 1544
    1903 W. University
    Stillwater, OK 74074
    Christi Ann Chapman                   OBA No. 18545
    PO Box 370
    Madill, OK 73446
    Keith Tulloss Childers                OBA No. 1657
    5017 Steanson # E
    Oklahoma City, OK 73112
    Lana Cohlmia                          OBA No. 11267
    4312 N. Classen Blvd.
    Oklahoma City, OK 73118
    Loeva Jane Martin Cook                OBA No. 1870
    622 New Jersey Ave.
    Norfolk, VA 23508
    John Fram Dexter                      OBA No. 2334
    6608 N. Western PMB # 607
    Oklahoma City, OK 73116
    Craig Dodd                            OBA No. 2388
    PO Box 452342
    Grove, OK XXXXX-XXXX
    Philip Wayne Durrill                  OBA No. 2564
    2833 S.W. 108 St.
    Oklahoma City, OK XXXXX-XXXX
    Shane Mark Egan                       OBA No. 15545
    767 Fifth Ave.
    New York, N.Y. 10153
    David Jonathan Fishman                OBA No. 15007
    PO Box 290060
    Brooklyn, N.Y. XXXXX-XXXX
    Christy Lynn Forth                    OBA No. 19807
    1701 S. Kelly Ave.
    Edmond, OK XXXXX-XXXX
*554
    James Jones Fuqua                     OBA No. 13502
    683 Lazy U Ranch Road
    Quanah, TX 79252-8076
    Richard Alan Gurley                   OBA No. 10828
    1016 Grover Lane
    Norman, OK 73069
    Michael K. Harrah                     OBA No. 3880
    6301 Gaelic Glen Dr.
    Oklahoma City, OK 73142
    Kimberly Ann Hart                     OBA No. 19474
    611 K Ste NE
    Washington, DC XXXXX-XXXX
    Russell Wayne Hasenbank               OBA No. 18280
    101 W 4th St.
    Liberal, KS XXXXX-XXXX
    Michael Charles Heathco               OBA No. 14580
    PO Box 406
    Lawton, OK XXXXX-XXXX
    Fausto Hernandez                      OBA No. 14422
    3772 E. Timberline Rd.
    Gilbert, AZ 85297
    Eugenia Maria Hernandez               OBA No. 18909
    PO Box 2624
    Iowa City, IA 52244
    Scott McLaurin Higginbotham           OBA No. 15122
    PO Box 237
    Dumas, TX 79029
    William Harvey Hinkle                 OBA No. 4229
    1730 W. Virgin Street
    Tulsa, OK XXXXX-XXXX
    Jacklynn Grace Hoplight               OBA No. 18944
    6530 N. 74th West Ave.
    Tulsa, OK 74126
    Paula Ann Jackson                     OBA No. 12349
    2416 S. Saint Louis Ave
    Tulsa, OK XXXXX-XXXX
    Robert H. Jaques II                   OBA No. 12350
    2424 Timber Terrace
    PO Box 130
    Ada, OK 74820
    Michael E. Karney                     OBA No. 12358
    140 Chambord Dr.
    Maumelle, AR 72113
    Barbara Anne Ketring-Beuch            OBA No. 17211
    201 W. Broadway, Ste 1
    North Little Roc, AR 72114
    Kimberly D. King-Hopkins              OBA No. 19025
    MD 41-3
    One Williams Ctr
    Tulsa, OK 74172
    Jon Howard Krause                     OBA No. 5113
    1 Colony Trail Dr.
    Mandeville, LA 70448
    Mark Douglas Mainprize                OBA No. 16268
    23804 E. Tecumseh Ave.
    Catoosa, OK 74015
    Guinise Marie Marshall                OBA No. 13902
    11515 Stagecoach Trl
    Oklahoma City, OK 73114
    Ellen Traub Martin                    OBA No. 13536
    5303 Marsh Creek Dr.
    Austin, TX 78759
    Camille Ruth Martin                   OBA No. 20088
    6052 B W Britton Rd. # D
    Oklahoma City, OK 73132
    Shirley Ann Marzan                    OBA No. 17092
    15889 S.W. 66th Terr
    Miami, FL 33193
    John David Merritt                    OBA No. 18777
    1917 Riverside Drive Apt C
    Tulsa, OK 74119
    Tami D. Mickelson                     OBA No. 13400
    2608 Callahan
    Muskogee, OK 74403
    Kenneth Lee Miller                    OBA No. 6216
    1112 Merlin Way
    Bakersfield, CA 93301
    Richard E. Minshall                   OBA No. 6252
    320 S. Boston, Ste 825
    Tulsa, OK 74103
    James Von Murray                      OBA No. 11448
    PO Box 2224 919 S. Main St.
    Stillwater, OK 74076
    J. David Mustain                      OBA No. 13132
    9 E 4th St, Ste 200
    Tulsa, OK 74103
    Peter Gregory Pariseau                OBA No. 14863
    PO Box 35827
    Tulsa, OK XXXXX-XXXX
    Robert C. Payden                      OBA No. 6980
    717 S. Houston, Ste 509
    Tulsa, OK 74127
    Mary Allison Pride                    OBA No. 16530
    535 S. Mason Ste 211
    Katy, TX 77450
    Dale Troy Rich                        OBA No. 11161
    7337 W 36
    Tulsa, OK 74107
    Wallace Allen Richardson              OBA No. 7556
    1248 O St. Ste 1000
    Lincoln, NE 68508
*555
    William David Ridout                  OBA No. 7572
    6716 S. St. Louis Ave.
    Tulsa, OK 74136
    Scott Gerald Robelen                  OBA No. 14016
    3987 S. Gessner # 360
    Houston, TX 77063
    Gary Howard Roden                     OBA No. 12457
    307 Colony Dr.
    Norman, OK 73072
    Denise P. Romer                       OBA No. 20104
    215 E. 20th St.
    Tulsa, OK 74119
    Jon R. Running                        OBA No. 7826
    PO Box 190354
    Dallas, TX 75219
    Clinton Dale Russell                  OBA No. 13768
    Rt. 1, Box 167
    Marlow, OK 73055
    Patrick Joseph Sacco                  OBA No. 18986
    20 Hanson St. Apt 3
    Boston, MA 02118
    Jeffrey Carter Sacra                  OBA No. 15342
    601 South Boulder
    Tulsa, OK 74119
    Travis Alan Scaggs                    OBA No. 19212
    3217 E 28th St.
    Tulsa, OK 74114
    James Carl Schlecht                   OBA No. 15619
    3034 Lacey
    Chickasha, OK XXXXX-XXXX
    Fred M. Schraeder                     OBA No. 7981
    1711 E. 15th St.
    Tulsa, OK 74104
    DeVan Sharbrough                      OBA No. 14430
    PO Box 35858
    Tulsa, OK XXXXX-XXXX
    Joseph Michael Sherrod                OBA No. 11992
    10324 Greenbriar Pl. Ste A
    Oklahoma City, OK 73159
    Dean Michael Solberg                  OBA No. 12490
    Ste 100-B
    5711 E 71st St.
    Tulsa, OK 74136
    James W. Spradling II                 OBA No. 10676
    5616 Lake Side Drive
    Bossier City, LA 71111
    Robert Wane Stansel                   OBA No. 18607
    211 N. Robinson, Ste 1950
    Oklahoma City, OK 73102
    Douglas G. Stuart                     OBA No. 8705
    210 E. Cherokee St.
    Wagoner, OK 74467
    Leigh Herbert Taylor                  OBA No. 8873
    675 S. Westmoreland Ave.
    Los Angelos, CA 90005
    Donald Dewayne Thompson               OBA No. 8957
    222 E. Dewey
    Sapulpa, OK 74066
    Steven W. Vincent                     OBA No. 9237
    Ste 401
    403 S. Cheyenne Ave.
    Tulsa, OK 74103
    Amber Lee Wade                        OBA No. 19248
    819 Woodmere Creek Loop
    Vestavia Hills, Al 35226
    Joseph David Weinstock                OBA No. 19252
    PO Box 1341 Yale St. # 5
    Santa Monica, CA 90404
    Laurie Ann Welborn                    OBA No. 13539
    9806 Pleasant Rd.
    Daphne, Al 36526
    Barbara Anne West                     OBA No. 18489
    1516 Avondale Drive
    Norman, OK 73069
    Christopher Robert Western            OBA No. 19970
    1220 E 25th Street
    Tulsa, OK 74114
    John Matthew Whitworth                OBA No. 18157
    100 S. Wheeler
    Sallisaw, OK XXXXX-XXXX
    James S. Wooley                       OBA No. 9881
    420 Greenridge Ct.
    Debray, FL 32713
    Margaret M. Zarbono                   OBA No. 10166
    1941 S. 42nd St. Ste 500
    Omaha, NE 68105

